Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 1 of 12




                      EXHIBIT D
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 2 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 3 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 4 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 5 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 6 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 7 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 8 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 9 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 10 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 11 of 12
Case 2:18-cv-00490-JAM-KJN Document 46-4 Filed 04/02/18 Page 12 of 12
